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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

          ROBBIE EMERY BURKE,                              )
          as the Special Administratrix of the Estate of   )
          Elliott Earl Williams, Deceased,                 )
                                                           )
                     Plaintiff,                            )
                                                           )
          v.                                               ) Case No. 11-CV-720-JED-PJC
                                                           )
          STANLEY GLANZ, et al.,                           )
                                                           )
                     Defendants.                           )

                                  PLAINTIFF’S FINAL EXHIBIT LIST

               COMES NOW, Plaintiff, Robbie Emery Burke (“Plaintiff” or “Ms. Burke”), as

      the Special Administratrix of the Estate of Elliott Earl Williams (“Mr. Williams”),

      deceased, and respectfully submits her Final Exhibit List as follows:

      Ex.           Bates                   Description
      1             GLANZ-EW0001-           Inmate Records from David L. Moss Criminal
                    GLANZ-EW0015            Justice Center (Including Booking Sheet, Arrest and
                                            Booking Report, Incident Report, etc.)
      2             GLANZ-EW0016 –          OSBI Report: Suspicious Death Subject: Elliot Earl
                    GLANZ-EW0057            Williams
      3             None                    “6/12/12 Meeting with CHC”
      4             None                    “Issues to be Discussed” Memo
      5             GLANZ-EW0078            Correctional Healthcare Authorities Drug
                                            Administration Activity for Elliot E. Williams
      6             GLANZ-EW0093-           Correctional Healthcare Authorities Medical
                    GLANZ-EW0109            Records for Elliot Williams
      7             GLANZ-EW0110-           Tulsa County Sheriff’s Office Employee Time
                    GLANZ-EW0115            Sheets
                                            Shifts: BKING-A, BR-A, FLV-A, ZONE1-A,
                                            ZONE2-A, and ZONE 3-A.
      8             GLANZ-EW0116-           Tulsa County Sheriff’s Office Employee Time
                    GLANZ-EW0124            Sheets
                                            Shifts: BKING-A, BR-A, FLV-D, ZONE1-A,
                                            ZONE1-A REVISED, ZONE2-A, ZONE2-A
                                            REVISED, ZONE3-A, and ZONE 3-A REVISED.
      9             GLANZ-EW0125-           Tulsa County Sheriff’s Office Employee Time
                    GLANZ-EW0131            Sheets
      9             GLANZ-EW0125-           Tulsa
                                            Shifts:County Sheriff’s
                                                     BKING-D,  BR-D,Office Employee
                                                                      FLV-D,          Time
                                                                               ZONE1-D,
                    GLANZ-EW0131            Sheets
                                            ZONE2-D, ZONE3-D, and ZONE 4-D.
                                            Shifts: 1BKING-D, BR-D, FLV-D, ZONE1-D,
                                            ZONE2-D, ZONE3-D, and ZONE 4-D.
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      10        GLANZ-EW0132-      Tulsa County Sheriff’s Office Employee Time
                GLANZ-EW0138       Sheets
                                   Shifts: BKING-D, BR-D, FLV-D, ZONE1-D,
                                   ZONE2-D, ZONE3-D, and ZONE 4-D.
      11        GLANZ-EW0139-      Tulsa County Sheriff’s Office Employee Time
                GLANZ-EW0144       Sheets
                                   Shifts: BKING-C, BR-C, FLV-C, ZONE1-C,
                                   ZONE2-C, and ZONE 3-C.
      12        GLANZ-EW0145-      Tulsa County Sheriff’s Office Employee Time
                GLANZ-EW0150       Sheets
                                   Shifts: BKING-C, BR-C, FLV-C, ZONE1-C,
                                   ZONE2-C, and ZONE 3-C.
      13        GLANZ-EW0151-      Tulsa County Sheriff’s Office Employee Time
                GLANZ-EW0156       Sheets
                                   Shifts: BKING-B, BR-B, ZONE1-B, ZONE2-B,
                                   ZONE3-B, and ZONE 4-B
      14        GLANZ-EW0157-      Tulsa County Sheriff’s Office Employee Time
                GLANZ-EW0162       Sheets
                                   Shifts: BKING-B, BR-B, ZONE1-B, ZONE2-B,
                                   ZONE3-B, and ZONE 4-B.
      15        GLANZ-EW0163-      Tulsa County Sheriff’s Office Policies Book
                GLANZ-EW0207       Chapter One – Organization
      16        GLANZ-EW0208-      Tulsa County Sheriff’s Office Policies Book
                GLANZ-EW0282       Chapter Two – Contractual Agreements
      17        GLANZ-EW0283-      Tulsa County Sheriff’s Office Policies Book
                GLANZ-EW0455       Chapter Three – Job Descriptions
      18        GLANZ-EW1161-      Tulsa County Sheriff’s Office Policies Book
                GLANZ-EW1260       Chapter Twelve – Investigation of Criminal
                                   Offenses
      19        GLANZ-EW1506-      Tulsa County Sheriff’s Office Policies Book
                GLANZ-EW1595       Chapter Seventeen – Channels of Communication
      20        GLANZ-EW1623-      Tulsa County Sheriff’s Office Policies Book
                GLANZ-EW1671       Chapter Nineteen – Booking
      21        GLANZ-EW1672-      Tulsa County Sheriff’s Office Policies Book
                GLANZ-EW1763       Chapter Twenty – Housing Unit Supervision
      22        GLANZ-EW1818-      Tulsa County Sheriff’s Office Policies Book
                GLANZ-EW1829       Chapter Twenty-Two – Jail Investigations Office
      23        GLANZ-EW2072-      Inmate Grievance and Request System
                GLANZ-EW2075
      24        GLANZ-EW2178-      Health Services Agreement
                GLANZ-EW2202
      25        GLANZ-EW2203-      Contract with Correctional Healthcare Management
                GLANZ-EW2209
      26        GLANZ-EW2224-      Correctional Healthcare Management Medical
                GLANZ-EW2233       Statistical Summary
      27
      27        GLANZ-EW2292-
                GLANZ-EW2292-      Correctional
                                   Correctional Healthcare
                                                  Healthcare Companies
                                                             Companies –– Mortality
                                                                          Mortality
                GLANZ-EW2303
                GLANZ-EW2303       Review
                                   Review of Clinton Labor, Memorandum of
                                             of Clinton Labor,  Memorandum  of patient
                                                                               patient
                                   death,
                                   death, Mortality
                                           Mortality review
                                                      review of
                                                             of Damien
                                                                Damien Tucker
                                                                       Tucker and
                                                                              and
                                   Frankie 2
                                   Frankie Thomas
                                             Thomas
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      28        GLANZ-EW2430       TCSO Policy Manual Ch. 17, Policy 08 – Medical
                GLANZ-EW2431       Services
      29        GLANZ-EW2698 –     NCCHC Accreditation letter and Report 11-15-10
                GLANZ-EW2721
      30        GLANZ-EW2742       Tulsa County Sheriff’s Office – CTOPS/Civil
                                   Organizational chart
      31        GLANZ-EW2743 –     NCCHC Letter and Report re: Probation status for
                GLANZ-EW2766       DLMCJC
      32        GLANZ-EW2789 –     CHMO 2010 Contract with attachments
                GLANZ-EW2813
      33        GLANZ-EW2814 –     2010 Health Services Agreement
                GLANZ-EW2979
      34        GLANZ-EW2980 –     2005 Health Services Agreement
                GLANZ-EW2989
      35        GLANZ-EW2992 –     Resolution to Renew Contracts and Agreements –
                GLANZ-EW2993       2006
      36        GLANZ-EW3015 –     2007 Amendment One to Correctional Health Care
                GLANZ-EW3016       Service Agreement
      37        GLANZ-EW3017 –     2008 Amendment Number Two to the Correctional
                GLANZ-EW3018       Health Care Service Agreement
      38        GLANZ-EW3019 –     2009 Resolution to Renew Contracts and
                GLANZ-EW3020       Agreements
      39        GLANZ-EW3021       2010 Resolution Contract/Agreement Renewal
      40        GLANZ-EW3022       2005 Contract – Last page only
      41        GLANZ-EW3023 –     09-29-11 Email from I.C.E.
                GLANZ-EW3025
      42        Photo              DSC_003.JPG Cell door with log sheets attached
      43        Photo              DSC_004.JPG Segregation Activity Record
      44        Photo              DSC_0005.JPG Security Check Form
      45        Photo              DSC_0006. JPG Cell door, security check form
                                   raised to show door number behind it
      46        Photo              DSC_0008.JPG Williams on floor of cell
      47        Photo              DSC_0009.JPG Medical equipment in cell
      48        Photo              DSC_0010.JPG Elliot Williams on floor of cell
      49        Photo              DSC_0011.JPG Elliot Williams on floor of cell
      50        Photo              DSC_0012.JPG Elliot Williams on floor of cell
      51        Photo              DSC_0013.JPG Elliot Williams – close up – face
      52        Photo              DSC_0016.JPG Elliot Williams – lower legs and
                                   feet
      53        Photo              DSC_0017.JPG Elliot Williams – right arm
      54        Photo              DSC_0019.JPG Elliot Williams – left arm
      55        Photo              DSC_0021.JPG Elliot Williams – left profile
      56        Photo              DSC_0022.JPG Elliot Williams – left profile #2
      57        Photo              DSC_0023.JPG Elliot Williams – close up
      58        Photo              DSC_0024.JPG Elliot Williams – close up of cut
      58        Photo              DSC_0024.JPG
                                   over right eye Elliot Williams – close up of cut
                                   over right eye
                                         3
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      59        Photo              DSC_0025.JPG Elliot Williams on floor of cell
      60        Photo              DSC_0026.JPG close up of blood and q-tip on floor
                                   by the wall
      61        Photo              DSC_0027.JPG Elliot Williams on floor with blood
                                   and q-tip
      62        Photo              DSC_0028.JPG close up of blood and q-tip on floor
                                   by Elliot Williams
      63        Photo              DSC_0030.JPG close up of left lower leg, ankle &
                                   foot
      64        Photo              DSC_0031.JPG close up of left lower leg & ankle
      65        Photo              DSC_0032.JPG Left arm with blood and q-tip
      66        Photo              DSC_0033.JPG close up of left arm with blood and
                                   q-tip
      67        Photo              DSC_0034.JPG blood and q-tip on floor near wall
                                   #2
      68        Photo              DSC_0035.JPG close up blood and q-tip on floor
      69        Photo              DSC_0039.JPG container of uneaten food (orange,
                                   egg, cereal and cookie)
      70        Photo              DSC_0040.JPG container of uneaten food (eggs,
                                   orange, bread etc.)
      71        Photo              DSC_0041.JPG container of uneaten food (orange,
                                   breaded cutlet, bread, beans?, carrots?)
      72                           CHC Medical Records re: Elliot Williams (bad
                                   copy)
      73                           CHC October Personnel Schedule
      74                           CHMO Organizational Chart
      75                           CHC Job Descriptions
      76                           Records of EMS Services in re: Williams (redacted)
      77                           10-27-11 Report of John Bell – Mental Health Lead
                                   re: Elliott Williams
      78                           10-27-11 Report re: Elliot Williams – unsigned
      79                           Burke_v_CHMO_Records
      80        GLANZ-EW3049 –     11-08-11 Advanced Medical Systems Inc report:
                GLANZ-EW3054       Review contract compliance, utilization, efficiency
                                   of contract between TCSO and medical service
                                   provider. Physical facilities review (REDACTED)
      81        GLANZ-EW3055 –     08-03-09 Oklahoma State Department of Health
                GLANZ-EW3058       Protective Health Services Jail Inspection Division
                                   Report on Death Investigation (REDACTED)
      82        VIDEO              Williams pre book 1.ave
      83        VIDEO              Williams pre book 2.ave
      84        VIDEO              Williams pre book 3.ave
      85        VIDEO              Williams pre book slider.ave
      86        VIDEO              Williams Booking waiting area 2.ave
      87        VIDEO              E Williams 3.ave
      88        VIDEO              E Williams 4.ave

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      89        VIDEO              E Williams 6.ave
      90        GLANZ-EW3143 –     03-02-12 Executive Summary D-11-026 From
                GLANZ-EW3144       Corporal McKelvey to Undersheriff Edwards
      91        GLANZ-EW3061 –     03-04-12 Synopsis of Elliot Williams investigation
                GLANZ-EW3142       from Corporal McKelvey to Undersheriff Edwards
      92        GLANZ-EW3059 –     10-22-11 Booking Security Checks
                GLANZ-EW3060
      93                           Homeland Security Exit Memo (from Lillard to
                                   Edwards)
      94        GLANZ-EW3154 –     Owasso / Tulsa County Sheriff’s Office SOMs
                GLANZ-EW3181       Report and Witness Statements
      95        GLANZ-EW3202 –     10-28-11 Transcript of Internal Affairs Investigation
                GLANZ-EW3211       Interview with Captain Tommy Fike
      96        GLANZ-EW3221 –     11-04-11 Transcript of Internal Affairs Investigation
                GLANZ-EW3233       Interview with Carmelita Norris
      97        GLANZ-EW3258 –     11-08-11 Transcript of Criminal Investigations Unit
                GLANZ-EW3269       Interview with Crystal Rich
      98        GLANZ-EW3270 -     11-04-11 Transcript of Internal Affairs Investigation
                GLANZ-EW3275       Interview with Deputy Monica Holloway
      99        GLANZ-EW3293 –     11-02-11 Transcript of Internal Affairs Investigation
                GLANZ-EW3301       Pre-Action with Dr. Washburn
      100       GLANZ-EW3312 –     11-03-11 Transcript of Internal Affairs Interview
                GLANZ-EW3319       with D.O. Ed White
      101       GLANZ-EW3340 –     11-03-11 Transcript of Criminal Unit Investigation
                GLANZ-EW3356       Interview with Dr. Steven Harnish
      102       GLANZ-EW3364 –     11-07-11 Transcript of Internal Affairs Investigation
                GLANZ-EW3375       Interview with Kimberly Hughes
      103       GLANZ-EW3411 –     11-08-11 Transcript of Criminal Investigations Unit
                GLANZ-EW3417       Interview with Dr. Khadja Limbu
      104       GLANZ-EW3418 –     11-07-11 Transcript of Internal Investigation Unit
                GLANZ-EW3421       Interview with Leticia Glover
      105       GLANZ-EW3422 –     11-04-11 Transcript of Internal Affairs Investigation
                GLANZ-EW3439       Interview with Lois Bell
      106       GLANZ-EW3524 –     11-07-11 Transcript of Interview with Steve Smith
                GLANZ-EW3529
      107       GLANZ-EW3534 –     11-03-11 Transcript of Criminal Investigations Unit
                GLANZ-EW3567       Interview with D.O. Tammy Hanley
      108       GLANZ-EW3575 –     12-07-11 Transcript of Inmate Death Investigation
                GLANZ-EW3588       Interview with Captain Fike
      109       GLANZ-EW3589 –     12-08-11 Transcript of Internal Affairs Investigation
                GLANZ-EW3597       Interview with Carl Wiehe
      110       GLANZ-EW3598 –     12-08-11 Transcript of Internal Affairs Investigation
                GLANZ-EW3609       Interview with Derrick Latham
      111       GLANZ-EW3614 –     12-15-11 Transcript of Inmate Death Investigation
                GLANZ-EW3618       Interview with Detention Officer Christopher
      112       GLANZ-EW3620 –     Leverich
                                   12-07-11 Transcript of Inmate Death Investigation
                GLANZ-EW3635       Interview with Detention Officer Dakota Walsh
                                         5
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      113       GLANZ-EW3641 –     12-07-11 Transcript of Inmate Death Investigation
                GLANZ-EW3671       Interview with Detention Officer Bell
      114       GLANZ-EW3672 –     12-16-11 Transcript of Inmate Death Investigation
                GLANZ-EW3676       Interview with Deputy Holloway
      115       GLANZ-EW3677 –     12-07-11 Transcript of Inmate Death Investigation
                GLANZ-EW3686       Interview with Inmate Andrew Johnson
      116       GLANZ-EW3687 –     12-09-11 Transcript of Inmate Death Investigation
                GLANZ-EW3691       Interview with Inmate Mario Wilson
      117       GLANZ-EW3692 –     12-09-11 Transcript of Internal Affairs Investigation
                GLANZ-EW3697       Interview with Lois Bell
      118       GLANZ-EW3698 –     12-07-11 Transcript of Inmate Death Investigation
                GLANZ-EW3700       Phone Conversation with Detention Officer Dakota
                                   Walsh
      119       GLANZ-EW3701 –     12-15-11 Transcript of Inmate Death Investigation
                GLANZ-EW3709       Interview with Sergeant Doug Hinshaw
      120       Video              Video of E. Williams in Cell #1 -- Unedited
      121       Video              Video of E. Williams in Cell #1 -- Edited
      122                          Hughes Personnel File
      123                          Washburn Personnel File
      124                          AIT Lab Report (unredacted)
      125       GLANZ-EW3935 –     Glanz Supplemental Discovery Sent 4.26.13 / IA
                GLANZ-EW4001       Disciplinary Files
      126       Video              E Williams 1.ave
      127       Video              E Williams 2.ave
      128       Video              E Williams 3.ave
      129       Video              E Williams 4.ave
      130       Video              E Williams 5.ave
      131       Video              Williams Booking Waiting area 2.ave
      132       Video              Williams pre book 1.ave
      133       Video              Williams pre book 2.ave
      134       Video              Williams pre book 3.ave
      135       Video              Williams pre book slider.ave
      136                          11-4-11 Transcript of Inmate Death Investigation
                                   Interview with Sergeant Jack Reusser
      137                          Yerton Documents: Timeline
      138                          Yerton Documents: Witness list (Prosecution report)
      139                          Yerton Documents: Witness list
      140                          CHC Clinical Protocol Manual 2010
      141                          ME Report
      142                          Mental Health Treatment Team Meeting
      143                          CHC Tulsa County – David L Moss Policies and
                                   Procedures, 2009
      144                          X-Rays of E Williams’ Spine
      145                          Photos of E Williams’ Spine
      146                          2007NCCHCReport
      147                          2009 Betty Gondles Report

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      148       DX27-0001-0030     2007 NCCHC Documents
      149       DX280001-0037      2010 NCCHC Documents
      150                          Dkt. #263-5
      151                          Dkt. #263-8
      152                          Dkt. #263-10
      153                          Dkt. #263-11 – 263-12
      154                          Dkt. #263-18
      155                          Dkt. #263-19
      156                          Dkt. #263-21
      157                          Dkt. #263-23
      158                          Dkt. #263-32
      159                          Dkt. #263-33
      160                          Dkt. #263-34
      161                          Dkt. #263-36
      162                          Dkt. #263-37
      163                          Dkt. #263-42
      164                          Dkt. #263-43
      165                          Dkt. #262-45
      166                          Dkt. #263-47
      167                          Dkt. #263-48
      168                          Dkt. #263-49
      169                          Dkt. #263-50
      170                          Dkt. #263-51
      171                          Dkt. #263-52
      172                          Dkt. #263-53
      173                          Dkt. #263-55
      174                          Tammy Harrington Documents
      175                          Autopsy Photos
      176                          Jail Fund Budget Letter and Attachments
      177                          Grand Jury Report
      178                          Adusei Report (Bowman to Robinette)
      179                          Wyrick Email
      180                          Settlement Order Between BOCC and DOJ
                                   (1995/1996)
      181                          2002 DOJ Report (Excerpt regarding Tulsa County
                                   Jail)
      182                          Community Safety Institute (“CSI”) Organizational
                                   and Operational Assessment of the Tulsa County
                                   Sheriff's Office (“CSI Report”)
      183                          Fiscal Year 2009, 2010, 2011 and 2012 Table Re.
                                   Tulsa County Purchase Orders
                                   Any Exhibit Listed by Defendants and Not Objected
                                   to by Plaintiff




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                                                    Respectfully submitted,

                                                    s/Robert M. Blakemore
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                                   CERTIFICATE OF SERVICE

              This is to certify that on this 20th day of January, 2017, a true and correct copy of
      the above was electronically transmitted to the Clerk of the Court using ECF System for
      filing with the Court and service upon all ECF-registered counsel of record.


                                                            /s/Robert M. Blakemore


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